                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

NOEL M. CAIN,

Plaintiff,                                           Case No. 2:19-cv-01345-pp

        v.

KOHL’S DEPARTMENT STORES, INC.,

Defendant.


                                    NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE NOEL M. CAIN (“Plaintiff”) hereby notifies the Court that

the Plaintiff and Defendant have settled all claims between them in this matter and are in the

process of completing the final closing documents and filing the dismissal. The Parties

anticipate this process to take no more than 60 days and request that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement. The Parties

propose to file a stipulated dismissal with prejudice within 60 days of submission of this

Notice of Settlement and pray the Court to stay all proceedings until that time.


Respectfully submitted this 31st day of January 2020.




                                                       s/ Nathan C. Volheim
                                                       Nathan C. Volheim, #6302103
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                                                       Lombard, IL 60148
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                                                       Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.


                                                                     s/ Nathan C. Volheim
                                                                     Nathan C. Volheim




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